      Case 2:13-cr-06070-SAB             ECF No. 4     filed 12/04/13      PageID.4      Page 1 of 2




 1   MICHAEL C. ORMSBY
     United States Attorney
 2   Eastern District of Washington
 3   ALEXANDER C. EKSTROM
     Assistant United States Attorney
 4   402 E. Yakima Ave., Suite 210
     Yakima, WA 98901
 5   Telephone: (509) 454-4425
 6
                                 UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF WASHINGTON
 8
     UNITED STATES OF AMERICA,                            )
 9
                                                          )   NO: MJ-13-4363-1
10                          Plaintiff,                    )
                                                          )
11          vs.                                           )   MOTION FOR DETENTION
12                                                        )
     KENNETH ROWELL,                                      )
13                                                        )
                            Defendant.                    )
14                                                        )
15          ___________________________________
16          The United States moves for pretrial detention of Defendant, pursuant to 18 U.S.C.§
17   3142(e) and (f).
18          1. Eligibility of Case. This case is eligible for a detention order because the case
19                involves (check one or more):
20                   ____ Crime of violence (as defined in 18 U.S.C. § 3156)a)(4) which
21                   includes any felony under Chapter 109A, 110 and 117).
22                   ____ Maximum penalty of life imprisonment or death,
23                   __X Drug Offense with maximum penalty of 10 years or more,
24                   ____ Felony, with two prior convictions in above categories,
25                   ____ Felony that involves a minor victim or that involves the
26          possession or use of a firearm or destructive device)as those terms are defined in section
27
28

     Motion for Detention                         1
      Case 2:13-cr-06070-SAB           ECF No. 4        filed 12/04/13   PageID.5     Page 2 of 2




 1
           921), or any other dangerous weapon, or involves a failure to register under 18 U.S.C.
 2
           section 2255.
 3
                   _X __ Serious risk Defendant will flee, or
 4
                   _____ Serious risk obstruction of justice.
 5
           2.      Reason for Detention. The Court should detain Defendant because there is no
 6
                condition or combination of conditions which will reasonably assure (check one or
 7
                both):
 8
                   __X_ Defendant’s appearance as required, or
 9
                   __X_     Safety of any other person and the community
10
           3.      Rebuttable Presumption. The United States will (will or will not) invoke the
11
                rebuttable presumption against Defendant under Section 3142(e). The presumption
12
                applies because there is probable cause to believe Defendant committed: If no, check
13
                nothing, if yes check all that apply
14
                    _X__ Drug offense with maximum penalty of 10 years or more,
15
                   _____     18 U.S.C. § 924c firearms offense, or
16
                    _____ Kidnaping, sexual crimes, or child pornography offenses.
17
           4.      Time for Detention Hearing. The United States requests the Court conduct the
18
                detention hearing:
19
                    _____ At the first appearance, or
20
                    __X_    After a continuance of three days.
21
           5.      Other Matters.
22
                   ________________________________________________
23
                   ________________________________________________
24
                DATED THIS 4th day of December, 2013
25
26                                        s/Alexander C. Ekstrom
                                          Assistant United States Attorney
27
28

     Motion for Detention                       2
